

Matter of Chouinard v Martin (2017 NY Slip Op 09085)





Matter of Chouinard v Martin


2017 NY Slip Op 09085


Decided on December 22, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 22, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CARNI, DEJOSEPH, NEMOYER, AND CURRAN, JJ.


1527 CAF 16-02028

[*1]IN THE MATTER OF TABITHA R. CHOUINARD, PETITIONER-RESPONDENT,
vJAMES W. MARTIN, RESPONDENT-APPELLANT. 
IN THE MATTER OF JAMES W. MARTIN, PETITIONER-APPELLANT,
vTABITHA R. CHOUINARD, RESPONDENT-RESPONDENT. 






PALOMA A. CAPANNA, WEBSTER, FOR RESPONDENT-APPELLANT AND PETITIONER-APPELLANT. 
RUTHANNE G. SANCHEZ, ATTORNEY FOR THE CHILDREN, WATERTOWN. 


	Appeal from an order of the Family Court, Jefferson County (Eugene J. Langone, Jr., J.), entered October 25, 2016 in a proceeding pursuant to Family Court Act article 6. The order, among other things, denied the petition of respondent-petitioner seeking custody of the subject children. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: December 22, 2017
Mark W. Bennett
Clerk of the Court








